                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                     )              No. 3:01cr104-05
                                              )
                              Plaintiff       )
                                              )
               v.                             )              ORDER
                                              )
JOSE OSEGUERA RODRIGUEZ,                      )
                                              )
                              Defendant       )

       Defendant JOSE OSEGUERA RODRIGUEZ moves the Court for modification of his

imposed sentence. The Motion is DENIED.

      The defendant is not eligible for a reduction pursuant to Amendment 706. According to the

Presentence Report prepared for the above referenced case, the controlled substance related to this

offense was cocaine powder not crack cocaine.

                                                  Signed: February 17, 2010




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